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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,            )
                                     )       Crim. No. 4:13-CR-00147
            v.                       )
                                     )
MO HAILONG,                          )
                                     )
             Defendant.              )


    GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
           EXCLUDE INSTANT MESSAGE CONVERSATIONS

      Mo Hailong rehashes several arguments raised months ago by Mo Yun to

exclude instant message conversations recovered from Mo’s office pursuant to a

search warrant. In doing so, Mo overlooks that the chats were taken from

removable media located in his own office, that any edits made to the chats would

have been made by him, and that the chats are highly probative of Mo’s

involvement in the charged offenses. This court’s previous conclusion that the

government can authenticate the chats remains unchanged. And Mo Hailong,

unlike Mo Yun, cannot claim that the chats expose him to unfair prejudice, or that

such prejudice substantially outweighs the probative value of the evidence. The

court should deny Mo’s motion.




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                                  BACKGROUND

I.     The chats were seized from Mo’s own removable drive over which he
       had sole custody and control.

       The communications at issue are instant messages, or online chat

conversations, saved by Mo in text and Word files onto a removable drive (a backup

storage device) located in his Florida office. In addition to the chats, the vast

majority of the contents of the drive contain DBN related materials, while a small

number of files relate to his family. The majority of chat file names contain dates;

metadata further provides a date the file was last modified, which generally

corresponds to the date in the file name.

       Mo was the only person working in his office until November 2012 when his

first employee was hired; two additional employees were hired in the fall of 2013.

The last chat was saved before that, in February 2013, while most of the relevant

chats were saved from 2007 through 2010. No one other than Mo was working in

that office for the vast majority of the time the chats were saved. If anyone accessed

them, it was Mo.

II.    The chats are among the government’s most probative evidence of
       Mo’s involvement in the conspiracy.

       The chats reflect Mo’s role in the conspiracy to steal proprietary U.S. corn

seed from as early as January 2007.1 It was then that defendant Li Shaoming, or

“Dr. Li”, the COO of Beijing Kings Nower Seed, reached out to Mo about “collecting




       All dates of the chats are approximate, and are based off the file name of the
       1

saved chat, the metadata indicating the last date modified, or both.
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US corn breeds.” (Ex. 1.)2 Six months later, in July 2007, Dr. Li impresses upon Mo

the importance of their task: “Looking at the current situation in China, gathering

and using US corn hybrids and inbreeds are even more significant.” (Ex. 2). Dr. Li

made clear that US breeds performed well in China, so “we can gain ample leading

edges by collecting hybrids or breeding materials directly from the US.” (Ex. 3.)

      The chats show that much of the focus at the beginning of the conspiracy was

on Mo buying Pioneer and Monsanto’s top-producing hybrid seed, and shipping it to

China. In China, DBN scientists subjected the hybrid seed to laboratory testing and

grew it to test its yield, and to obtain female inbred seeds through the process of

“chasing selfs.” (Ex. 4-14.) The chats make it clear DBN was targeting the

germplasm of Pioneer and Monsanto. (Ex. 15; see also Ex. 2, 4, 11, 16-19.) Mo also

targeted seeds containing highly valuable traits. (Ex. 4, 11-13, 16, 19, 20.)

      The chats also show that from the beginning, the conspiracy involved Mo

stealing corn from fields. In September 2007, Mo Yun asked Mo, “can you get any

corn?” Mo replied, “sure . . . it’s easy to take pictures and easy to pick . . . needed

little caution to drive to somewhere unseen as more vehicles are passing by.” (Ex.

21.) In late October 2007, shortly after other records show Mo was traveling in the

Midwest, Mo sent Dr. Li photographs he had taken of Pioneer fields. (Ex. 22). Mo

told Li, “the cobs belong to Pioneer,” and the two men discussed whether it was a




      2 The chats that are cited as exhibits to this response will be provided in hard
copy to the court and the defense due to the volume of the chats. These represent a
sample of the chats the government may seek to admit. The exhibits are, for the
most part, English translations from Mandarin.
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“large field or a testing field,” and if the photographed corn had a “Trait or not.” (Ex.

22).

        As the conspiracy evolved, the chats show DBN became increasingly focused

on obtaining male inbred seeds, and that the only way to get males was to steal

them. In July 2008, for example, Dr. Li asked Mo to find the “main US location(s)

for hybrid production fields, that is, the fields where “male parents and female

parents are inter-planted in alternating rows to produce hybrid seeds.” Dr. Li also

told Mo the “next focus” of Mo’s work in the United States was “to increase

collection quantity; improve collection relevance, and explore channels to obtain

inbred male parent.” Mo responded with despair, saying he had previously sent

“2000 pieces for each variety. Too heavy – I lived in fear for more than a week.” Dr.

Li ended the conversation by reemphasizing his main goal: “Knowing seed

production is an effective way to obtain inbred male parent.” (Ex. 8.)

        In April 2009, Dr. Li sent Mo an urgent message to step up his efforts. Dr. Li

wrote, “Pioneer’s prowess [Pioneer’s success selling hybrid seed in China] has

shaken the Chinese government. There is a serious need for a national hero.” (Ex.

18).

        By March of 2010, a member of DBN’s breeding program emailed Mo saying

he was feeling “very heavy pressure.” The email noted that DBN produced new

varieties of corn “mainly [through] the obtainment of foreign seed industry’s

breeding resource.” The DBN breeder reminded Mo, “you are the only channel for

overseas obtainment.” (Ex. 23.)



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      In late March 2010, Mo and Dr. Li discussed Mo’s upcoming activities in

April and May, which Dr. Li described as “the critical period in collecting and

buying,” that is, buying hybrid seed, and stealing inbred seed from recently-planted

fields. Dr. Li noted, “The next month and a half will be very hard work for you,

thank you very much!!” (Ex. 24.)

      In late July 2010, Mo and a breeder from DBN had the following conversation

about security measures used by U.S. seed companies:

      Hailong says:
      A few seed enterprises and independent sales companies purchased by
      them were topnotch companies and they are enjoying the payback now.
      Their security work on research and development is very good. I went
      to the top-secret building and there were people patrolling the parking
      lot.

      LIN Meigen says:
      Haha, be careful that they might escort you back as a business spy
      someday

      Hailong says:
      The field testing areas have very high wires and GPS surveillance
      positioning, very secretive

      LIN Meigen says:
      Dr. LI was talking to me a few days ago about you being cowardly,
      afraid of being escorted back; and said that it would be better to be
      escorted back, no need to purchase a flight ticket out of your own
      packet.

      Hailong says:
      Don’t know how good the GPS surveillance positioning was, but very
      scary. Dr. LI is funny. Let him come to the US someday and take a
      look, and see if he’d be sacred or
      not.

      LIN Meigen says:




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       Hoho, it should be pretty accurate. The ones used by civilians might
       not be as good. I heard that the military ones can identify a target that
       is the size of a basketball.
       Yes, after all, you are in other people’s territory Will talk to Dr. SHAO
       one of these days about us purchasing a small US company.

       Hailong says:
       It was mainly all the signs that said no enter. It is very strict in the US
       with legal standing. It’s okay for them to shoot guns.

(Ex. 19.)

       In August 2010, Mo and a DBN breeder strategized about “us[ing] the

foreigners’ technology to beat them.” Mo said, “we can combine their male parent

with our female parent [breed a stolen U.S. male with a DBN female]. That may

very likely produce very good result.” But, Mo noted, “Our male parent source is

weak,” and the DBN breeder agreed that “male parent is hard to get,” and that

males were “in short supply.” Mo and the breeder then discussed “purchas[ing]” a

male parent from a U.S. company. Mo said, “Normally they sell one parent for 1

million dollars.” He went on to explain that the results were too uncertain for DBN

to spend that kind of money, noting, “to use 1 million dollars to try our luck is sort

of costly.” (Ex. 15.)

       In October of 2010, Mo told a DBN breeder that Mo had stolen six corn cobs

containing male parents from multiple fields. Mo said he was sending the stolen

corn back to China. The DBN breeder noted that, “The parents are usually hard to

find, the other company keeps them in good concealment.” Mo agreed, explaining

that he “would spend a whole tank of gas” when he drove around “for over a day”

looking for fields with inbred seeds. Mo told the breeder, “It will be more convenient



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when I bring you along next year,” because Mo could “focus on driving” and the

breeder could “focus on looking at the varieties.” (Ex. 25.)

      Three days later, Mo told Dr. Li about the six cobs he had stolen that were

believed to contain male inbred seed. Mo said he got the cobs out of what was likely

to be “a seed production field,” and that “[t]here were no other fields around.” Dr. Li

told Mo how to identify hybrid production fields by the planting pattern and the

security measures used to remove male inbred seed. Dr. Li explained the fields were

planted with four rows of female inbred plants for every one row of male inbred

plants, and that the male rows were removed, or, in Dr. Li’s words, “manually or

mechanically eliminated.” (Ex. 26.)

      During the same conversation, Mo told Dr. Li that Mo was deliberately

targeting fields with mowed down male rows, saying, “I usually go after the ones

with clear indication of eliminated male or remaining male.” Dr. Li told Mo if he

had gone into the fields “[a]round 20 days earlier,” the male rows wouldn’t have

been mowed down yet, and “you can pick the male parent cobs.” Dr. Li instructed

Mo to look for fields with “eliminated” male rows, which “can confirm it is a male

parent and it is a seed production field.” Mo said, “I usually pick the cobs of

eliminated males,” and Dr. Li replied, “Very good,” and later told Mo, “Don’t worry

about [variety] names, just male parents will do.” (Ex. 26.)

      In December 2010, after Mo had stolen corn throughout the fall, Mo told a

DBN breeder that Mo had just shipped four boxes, each containing about 25




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kilograms of corn. Mo said, “I would be content if one out of seven is a male parent.”

(Ex. 27.)

      On September 30, 2012, authorities caught Dr. Li, Ye Jian, and Wang

Hongwei attempting to smuggle stolen inbred seed out of the country, after these

defendant spent weeks stealing corn from Pioneer and Monsanto fields in Illinois.

In October 2012, Mo sent a letter to Dr. Shao Genhuo, the chairman of DBN and

Mo’s brother-in-law. The letter noted that “The team led by Dr. Li worked very hard

in the US this time and received sizeable results,” but that “unfortunately [their

stolen seeds] were seized by US Customs, and the resources were confiscated.” Mo

complained that Dr. Li had given Mo’s name to U.S. authorities. Mo also noted that

the stolen corn was marked with “clear sequential” numbers, and that if the

authorities compared Dr. Li’s stolen seed seized in Chicago with Wang Hongwei’s

stolen seed seized at the Canadian border, “it would be very easy to determine they

were two sets of the same things, and that would make the matter very severe.” Mo

warned, “The accumulated work done in Northern America could be completely

destroyed by Dr. Li’s aggressive decision.” (Ex. 28.)

      In February 2013, Dr. Li asked Mo to export the GPS information used to

target fields in order to steal inbred seed in the fall of 2012. Dr. Li told Mo that

DBN had obtained “the DNA fingerprint” of the set of stolen inbred seeds Mo had

sent to China—this was the set of seeds Mo was carrying on September 30, 2012,

which authorities did not find because Mo was flying domestically. Dr. Li said Mo’s




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set of stolen seeds contained 120-130 varieties of inbreds after the duplicates were

removed. (Ex. 29.)

                                     ARGUMENT

I.     Chats recorded and saved by Defendant are highly probative and not
       unfairly prejudicial.

       A.    Rule 403.

       Rule 403 provides that the court “may exclude relevant evidence if its

probative value is substantially outweighed by a danger of . . . unfair prejudice.” All

relevant evidence offered against a defendant is prejudicial, and properly so. See

United States v. Meyers, 503 F.3d 676, 681-82 (8th Cir. 2007). The rule focuses on

unfair prejudice, which means evidence that encourages the jury to decide the case

on an improper basis, typically improper emotion. Id.; United States v. Anderson,

783 F.3d 727, 745 (8th Cir. 2015).

       The Eighth Circuit has held that when the court considers evidence under

Rule 403, “the general rule is that the balance should be struck in favor of

admission.” United States v. Augustine, 663 F.3d 367, 373 (8th Cir. 2011). Other

circuits have explained that the exclusion of otherwise admissible evidence under

Rule 403 is an “extraordinary remedy” that “should be used sparingly.” United

States v. Brooks, 736 F.3d 921, 940 (10th Cir. 2013); accord United States v. Lopez,

649 F.3d 1222, 1247 (11th Cir. 2011); United States v. Clark, 577 F.3d 273, 287 (5th

Cir. 2009); United States v. Patterson, 819 F.2d 1495, 1505 (9th Cir. 1987).




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      B.     The chats are highly relevant.

      The chats speak for themselves. They show Mo’s intent to target Pioneer and

Monsanto’s germplasm to use in DBN’s breeding program. They demonstrate Mo’s

knowledge of Pioneer and Monsanto’s security measures, and his attempts to evade

those measures. They show Mo personally targeting male inbred seed and stealing

it out of corn fields. And they show Mo’s knowledge of the massive theft of his

codefendants in August and September 2012, and his fear that the authorities

would tie their theft back to him. The chats are incredibly powerful evidence of Mo’s

intent to steal trade secrets, and to transport stolen property across state and

national lines. They go to the heart of the central dispute at trial, which is Mo’s

intent. The probative value of the evidence could not be higher.

      C.     Admission of the chats will not result in unfair prejudice.

      The only possible “unfair prejudice” from the chat evidence is if the chats

were altered in a way that prejudices Mo. But if the chats were altered, Mo is the

one who altered them. Mo recorded and saved the chats on his own hard drive.

There is no evidence that anyone else had access to them. It is beyond belief that

someone other than Mo could have altered chats from 2007 to 2013 on Mo’s hard

drive without Mo knowing. Therefore, the court should presume that any changes to

the chats benefit Mo, because Mo himself made the changes. And Mo can’t carefully

save and catalogue chats for years, and then claim the chats are unfairly prejudicial

because Mo might have changed them (but won’t tell whether he did).




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           Mo raises a familiar list of so-called “errors” in the chats (Dkt. 532-1 at 3-4),

but none of these show unfair prejudice.

      1.       Date and file names were added—by Mo.

      2.       Several excerpts are merely partial versions of other, longer ones saved

under different file names—because Mo chose to save them that way.

      3.       Hyperlinks to outside websites are dead—because over the course of

six years, the Internet changes. In much the same way, a recorded telephone

conversation from six years ago might refer to a restaurant that has since closed.

      4.       Attachments referred to in the chats can’t be accessed—because Mo

didn’t save all the attachments with the same dedication as he did the chats.

      5.       There are blank areas and unusual spacing—that Mo created.

      6.       Excerpts start in the middle of a discussion—because Mo chose to

begin there.

      7.       Offline communications referenced in a number of excerpts are not

available—because the chats are chats, not a complete catalogue of every

conversation Mo had in any form over a six year period.

      More generally, the Eighth Circuit has followed other courts in “reject[ing]

the argument that cut and pasted transcripts of internet chats are inherently

untrustworthy and therefore inadmissible at trial.” United States v. Myers, 575 F.3d

801, 809 (8th Cir. 2009). As this court has previously ruled, the government has met

its burden of authentication (Dkt. 420 at 9); any further argument about whether

the chats are what the government purports them to be is a matter of weight and



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argument for the jury. United States v. Oslund, 453 F.3d 1048, 1055-56 (8th Cir.

2006).

         Settled precedent also establishes that the chats are admissible even if they

might only be excerpts of longer conversations. Just as in the context of audiotapes

and transcripts, any alleged gaps in the chats affect the weight the jury should

accord the evidence, not their admissibility. United States v. Byrne, 83 F.3d 984, 990

(8th Cir. 1996); United States v. Willie, 308 F. Supp. 2d 724, 726 (E.D. Va. 2004)

(inaudible portions of recorded conversations “simply goes to the weight the jury

should accord to the . . . recording; it does not render the evidence inadmissible”

under Rule 403.).

         Mo is free to argue about what is missing from the chats, but the mere

possibility that something is missing doesn’t cause unfair prejudice, especially since

Mo chose what to keep and what not to. See United States v. Breton, 740 F.3d 1, 13-

14 (1st Cir. 2014) (file and chat room names found on defendant’s computer

admissible “even absent further proof of what, if anything, those files contained”);

Safavian, 435 F. Supp. 2d at 42 (testimony of e-mails that may have been altered

limited to “the bare fact of what words appear on a particular e-mail by a case agent

or summary witness who neither composed nor received these e-mails.”).3

         Finally, as has already been thoroughly briefed by the government and

decided upon by this court, the government need not call a participant in the chats

to authenticate them. (Dkt, 287 at 6-9; Dkt. 420 at 9). United States v. Manning,


         3   See also government’s response to Mo Yun’s motion, Dkt. 297 at 10-11.


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738 F.3d 937, 943 (8th Cir. 2014) (chats admissible due to identifying information

contained in the chats and the fact they were found on defendant’s personal laptop

in his home where he lived alone). Nor must the government call a participant to

render them admissible under Rule 403. The court expressed some concern over the

government’s inability to call a witness who participated in the chats when they

were to be admitted as to Mo Yun, but again, unlike Mo, Mo Yun was (1) not the

person who saved the chats; (2) evidence as to her involvement in the conspiracy

was focused on a shorter timeframe; and (3) the probative value of the chats was not

overwhelming as it is for Mo. Mo does not sit where Mo Yun sat. The chats are

sufficiently trustworthy; any danger of unfair prejudice is slight, and certainly

cannot be said to substantially outweigh their probative value.

        “There is a difference between evidence that brings unfair prejudice and

evidence that is damning.” United States v. Burt, 495 F.3d 733, 740-41 (7th Cir.

2007). The chats are damning evidence against Mo, but, as his own words that he

saved on his own hard drive, nothing about them is unfair.

II.     The chats meet a threshold determination of authenticity.

        A.   Authentication of chats requires “evidence sufficient to
        support a finding that the item is what the proponent claims it is.”

        “To satisfy the requirement of authenticating or identifying an item of

evidence, the proponent must produce evidence sufficient to support a finding that

the item is what the proponent claims it is.” Fed. R. Evid. 901(a). Electronic and

documentary evidence such as internet chats may be authenticated “through

several methods including, ‘[t]he appearance, contents, substance, internal

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patterns, or other distinctive characteristics of the item, taken together with all the

circumstances.’” Fed. R. Evid. 901(b)(4); United States v. Young, 753 F.3d 757, 773

(8th Cir. 2014); 100 Am. Jur. 3d Proof of Facts § 89 (2008). “The party

authenticating a document need only prove a rational basis for that party’s claim

that the document is what it is asserted to be.” United States v. Wadena, 152 F.3d

831, 854 (8th Cir. 1998). The government may demonstrate authenticity through

circumstantial evidence. Id. “Once the threshold requirement is met . . . any

question as to whether the evidence is authentic is for the jury.” Kaplan v. Mayo

Clinic, 653 F.3d 720, 726 (8th Cir. 2011) (internal citations omitted).

      B.     McMillan is inapplicable.

      Mo renews Mo Yun’s argument that the McMillan standard should apply to

the chats at issue here. (Dkt. 532-1 at 8-12). Mo cites no new case law, and no facts

unique to him that should cause the court to reconsider its decision to the contrary.

(Dkt. 420). There is no need to reiterate the legal arguments already briefed by the

government (Dkt. 297) and ruled upon by this court (Dkt. 420). For the reasons

already stated by the government in its response to Mo Yun’s motion, and by the

court in its order on the same motion, the McMillan standard is inapplicable to the

chat transcripts at issue here.

      C.     The chats meet a threshold determination of authenticity.

      The court previously determined that the government had met its burden of

authenticating chat transcripts between Mo Yun and Mo. There is more than

sufficient evidence to find that the entire set of chat transcripts involving Mo are



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excerpts of instant message conversations between Mo and others, such as Dr. Li.

The same analysis applied by the court in its previous ruling applies equally here:

the chats were found on Mo’s removable drive, over which he had control, and the

content of the chats themselves provide circumstantial evidence that they are what

they purport to be. (See Dkt, 297 at 6-9; Dkt. 420 at 7-9). There is only more such

evidence here, where the chats span a lengthy timeframe, and discuss a range of

Mo’s activities in his own words, which will be separately corroborated, such as the

purchase of farmland in Iowa, his travel to the Midwest to steal corn, and other

matters. Furthermore, the chats contain several indications that they are saved

instant message transcripts. (Ex. 6 (Mo says he and Dr. Li “talked by MSN for

about 4 hours”); Ex. 19 (Text unattributed to a speaker: “System reminder: Your

friend is using MSN Manager supported chat record management”); Ex. 27 (Text

unattributed to a speaker: “Don’t include information like passwords or credit card

numbers in an instant message.”)).




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                                      CONCLUSION

       For these reasons, the court should deny the Defendant’s Motion In Limine to

Exclude Alleged Excerpts of Instant Message Conversations (Dkt. 532).



                                                    Respectfully Submitted,

                                                    Kevin E. VanderSchel
                                                    Acting United States Attorney

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CERTIFICATE OF SERVICE

I hereby certify that on December 22, 2015, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

     U.S. Mail       Fax      Hand Delivery

 X   ECF/Electronic filing     Other means


UNITED STATES ATTORNEY

     By: /s/ Marc Krickbaum
           Assistant U.S. Attorney




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